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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1744V
                                        UNPUBLISHED


    GARY J. HUDECK,                                         Chief Special Master Corcoran

                        Petitioner,                         Filed: August 28, 2020
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Guillain-Barre Syndrome (GBS)
                       Respondent.


Matthew F. Belanger, Faraci Lange, LLP, Rochester, NY, for petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT 1

       On November 12, 2019, Gary Hudeck filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that that he suffered Guillain-Barre Syndrome (GBS)
as a result of his March 21, 2017 influenza (“flu”) vaccination. Petition at 1. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On August 24, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent indicates that



1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       [m]edical personnel at the Division of Injury Compensation Programs,
       Department of Health and Human Services (DICP), have reviewed the
       petition and medical records filed in the case. It is respondent’s position that
       petitioner has satisfied the criteria set forth in the revised Vaccine Injury
       Table (“Table”) and the Qualifications and Aids to Interpretation (“QAI”),
       which afford petitioner a presumption of causation if the onset of GBS
       occurs between three and forty-two days after a seasonal flu vaccination
       and there is no apparent alternative cause. 42 C.F.R. § 100.3 (a)(XIV)(D),
       (c)(15).

Id. at 7.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                    s/Brian H. Corcoran
                                    Brian H. Corcoran
                                    Chief Special Master




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